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1                       P. Woodfork - 6/21/19
2      salary arbitration, which was roughly a month or
3      two, and I was not consulting for anyone and I
4      started a new job in March of 2011.
5              Q.     And who did you go to work for in
6      2011?
7              A.     Office of the Commissioner.
8              Q.     Who hired you at the Office of the
9      Commissioner?
10             A.     I was hired -- I was hired by Rob
11     Manfred and Joe Torre.
12             Q.     What was your title?
13             A.     Senior Vice President Baseball
14     Operations.
15             Q.     Who did you report to?
16             A.     Joe Torre.
17             Q.     How long did you stay in the
18     position of Senior Vice President of Baseball
19     Operations?
20             A.     I carried that title through April
21     of 2018.
22             Q.     Did your title change?
23             A.     Yes.
24             Q.     Now what is it?
25             A.     Senior Vice President of On-Field


                                                                         EXHIBIT
                                                                                   exhibitsticker.com




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1                       P. Woodfork - 6/21/19
2             A.      I met with counsel.
3             Q.      When was that?
4             A.      Within the last -- I met yesterday,
5      and two -- roughly two weeks ago.
6             Q.      Starting in 2011 through the
7      present, who at the Office of the Commissioner
8      decides which umpires go to the World Series?
9             A.      The process of World Series
10     selection happens through a meeting, a number of
11     meetings -- a meeting, usually a set meeting, in
12     2000 -- excuse me, I'm going to start 2011.
13            Q.      Yes.
14            A.      I think it's changed slightly over
15     time, but predominantly the process is the group
16     meets, the supervisors, directors, Joe Torre,
17     myself, other umpire department members discuss
18     the umpires in a meeting, multiple days usually.
19     Umpires are asked -- I mean supervisors are
20     asked usually previously to come up with their
21     umpires that they think is deserving of the post
22     season, that post season process.          And then
23     there's phone calls after that, make sure
24     everyone is kind of on the same page, the
25     supervisors, the directors, myself, usually Joe



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1                       P. Woodfork - 6/21/19
2      Torre, and that sets your post season.
3                     Those post season umpires that work
4      in the Division Series are usually the ones that
5      are -- have the opportunity to work in or are
6      eligible to work in the World Series.           Those
7      World Series umpires are then discussed, those,
8      excuse me, those Division Series umpires are
9      then discussed with the group, supervisors,
10     directors, again, to see who the best and most
11     deserving of the World Series.         I discuss it
12     with Joe Torre among those groups.          There's
13     recommendations that come, and Joe after
14     discussions with myself, Joe usually -- is the
15     final decision maker.
16            Q.      And is Joe the final decision-maker
17     in the promotion of crew chiefs?
18            A.      A similar process --
19            Q.      I'm not interested in the process.
20                    I just want to know is Joe Torre the
21     final decision-makers in promoting crew chiefs?
22            A.      Joe gets recommendations from,
23     again, the group, and Joe and I discuss it and
24     Joe makes the final decision.
25            Q.      Why are there no minority crew



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1                       P. Woodfork - 6/21/19
2             A.      The game evaluation reports are a
3      one-day snapshot; the evaluation of an umpire
4      comes from many different inputs.          Those game
5      reports again are not something that, in the
6      process of determining crew chief, I can say
7      that I'm looking at.
8             Q.      I understand that one-game
9      evaluation is one snapshot of one game.
10                    What I'm saying is:       Do you take the
11     collective amount of the game evaluations in to
12     your consideration when promoting an umpire to
13     crew chief?
14            A.      Again, looking at -- I do not look
15     at game evaluations.       The game evaluations as a
16     separate document while determining the crew
17     chief process.
18            Q.      Does Mr. Torre?
19            A.      I can't answer for Joe; you need to
20     ask him that question.
21            Q.      Well, you work with him.
22                    Do you know what he considers when
23     he's deciding who should be promoted to crew
24     chief?
25            A.      Again, I know we discussed, we -- I



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1                       P. Woodfork - 6/21/19
2      have not discussed with Joe Torre game
3      evaluations.
4              Q.     That's not my question.
5              A.     I guess I don't understand your
6      question.
7              Q.     Do you know what Joe Torre considers
8      when he decides whose going to become a crew
9      chief?
10             A.     IN my discussion with Joe, i talk to
11     Joe, Joe focuses on leadership.          The documents
12     that he's -- the game evaluations are not
13     something that I discuss with Joe.
14             Q.     Is that the only thing that Joe
15     focused, on leadership, when he decides who is
16     going to be promoted for crew chief?
17             A.     Joe looks at -- my apologies for
18     that.    Joe looks at the umpire; leadership is
19     part of that skill set that's important.
20     Obviously, consistency, things that go in to
21     leadership, accountability, you know, umpire,
22     being there working, he does look at, you know,
23     experience, positive experience in the role to
24     be a crew chief, all things, among other things,
25     the total evaluation of the umpire.



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1                       P. Woodfork - 6/21/19
2             Q.      Leadership is how an umpire conducts
3      himself on and off the field, correct?
4                     MR. LUPION:     Objection to form.
5      BY MR. MURPHY:
6             A.      Leadership, you know, how I perceive
7      leadership, you know, is their your overall
8      performance, how you handle situations, how you
9      -- results, your ownership or accountability,
10     being a or remaining a positive influence on
11     those around, all of those things help to make
12     up leadership.
13                    Again, leadership is, you know,
14     those things that, it's a little different, I
15     know, for each person, but leadership skills
16     that we promote are staying above the fray,
17     handling situations, being a positive influence.
18                    Those are just some of the examples.
19            Q.      Handling situations means handling
20     situations on the field, right?
21            A.      In all situations, show leadership
22     in handling situations on the field, handling
23     situations off the field, dealing with clubs on
24     and off -- clubs on the field, rain situations,
25     these are all parts of leadership.



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1                       P. Woodfork - 6/21/19
2                     MR. LUPION:     The question was:      Did
3               you look at game evaluation reports.
4                     In connection with what?
5      BY MR. MURPHY:
6             Q.      Did you --
7             A.      Can I say something first?
8             Q.      Yes.
9                     MR. LUPION:     No, no, no, there's no
10              question pending.      So there's no question
11              pending.
12                    You're entitled to a clear answer,
13              counsel is going to try to formulate -- a
14              clean question, counsel is going to try to
15              formulate a clear question.
16            A.      I'm not trying to be difficult.
17                    MR. LUPION:     Don't.    There's no
18              question pending:
19                    THE WITNESS:     I understand --
20                    MR. LUPION:     You don't have to
21              explain yourself.      There's no question
22              pending.
23     BY MR. MURPHY:
24            Q.      Between 2012 and the present, do you
25     look at midyear and end-of-year evaluations of



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1                       P. Woodfork - 6/21/19
2      umpires when you decide what your opinions is
3      going to be on the promotion of crew chiefs?
4             A.      Again, during the process, I feel
5      like from my viewpoint I have a strong feeling
6      of umpires.     I've seen midyear evaluations
7      previously.     I've seen year-end evaluations
8      through the process, which is usually coinciding
9      with the process of looking at crew chief
10     reviews.
11                    So, again, I know the information; I
12     don't specifically put them in front of me.
13            Q.      How do you know the information if
14     you don't see it?
15            A.      As I said --
16                    MR. LUPION:     Objection to form.
17     BY MR. MURPHY:
18            Q.      Go ahead.
19            A.      Again, as I said, I think
20     previously, I've seen the midyear evaluations,
21     reviewed them all before they've gone out.            The
22     yearend evaluations are usually in that process.
23     So I've viewed them.       Again, the specific
24     question is if I'm viewing them as I'm making my
25     decision, usually not.



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1                       P. Woodfork - 6/21/19
2      own decision as to who should be promoted to
3      crew chief?
4             A.      Again, I -- I think it, I'm not
5      doing a good job of explaining it and I
6      apologize for that.
7             Q.      It may be just that I'm dense --
8             A.      I don't think --
9             Q.      -- if that's the case?
10                    MR. LUPION:     We don't need to engage
11              in this, the witness was about to answer.
12                    MR. MURPHY:     I was trying to be
13              gracious.    I was trying to gracious.
14                    MR. LUPION:     You're always gracious.
15                    MR. MURPHY:     I try to be.
16     BY MR. MURPHY:
17            A.      I will say on the record, I will say
18     on the record, I don't think you're dense.
19            Q.      I appreciate it?
20            A.      I am probably not doing a great job
21     of explaining it.
22            Q.      I appreciate it.
23            A.      I think the process is more fluid
24     than the -- the one day you're established as a
25     crew chief or you apply as a crew chief, this



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1                        P. Woodfork - 6/21/19
2       information, as I said, I look at part of the
3       midyear process, part of the yearend process and
4       part of the daily, weekly phone calls that we
5       have to discuss umpiring, discuss our umpires'
6       performance, all of that continual information,
7       it's continuous.      And we're making our
8       decisions.
9                     It's not a slash one moment, one day
10      decision; this is a fluid decision that happens
11      over time.    People improve and you provide
12      feedback and you understand these things.           And I
13      think that's probably the disconnect we're
14      having.
15                    I reviewed, I understand the midyear
16      reviews, I understand the umpires, I understand
17      how they're performing on a day-to-day basis.
18      And I think that's the difference, or struggle
19      that maybe I'm having explaining.
20             Q.     That one I understood, thank you.
21             A.     It takes me a little while.
22             Q.     Major League Baseball hires
23      supervisors and observers to watch umpires
24      during the game, correct?
25             A.     Correct.



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1                        P. Woodfork - 6/21/19
2       BY MR. MURPHY:
3              A.     Other supervisors or observers file
4       game reports on games that Angel Hernandez has
5       worked.
6              Q.     What is the criteria to be selected
7       to be World Series?
8                     MR. LUPION:     Are we done with this
9               document?
10                    MR. MURPHY:     You can put it to your
11              left side and you'll be done, or your
12              right side.
13                    MR. LUPION:     I'm going to put it to
14              my right side.
15                    You can put that document away.
16             A.     Do you want it back?
17                    MR. LUPION:     Just leave it in front
18              of the court reporter.
19      BY MR. MURPHY:
20             A.     Excuse me.
21             Q.     What is the criteria for selecting
22      World Series umpires?
23             A.     Again, as I said, the process goes
24      through, we're looking at performance, both, in
25      the current season and past performance and



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1                        P. Woodfork - 6/21/19
2       consistency in the umpires.
3                     One, you know, obviously in the post
4       season, the one kind of requirement or at least
5       historically what we have done is that you have
6       worked in the Division Series.
7              Q.     But it's not solely merit based, am
8       I right?
9                     MR. LUPION:     Objection to form.
10             A.     I feel like we believe it is.         I
11      mean, the detail process, but it may not be --
12      it may not be your highest performing umpire
13      that works in the World Series that year based
14      on all factors.     There may be other factors like
15      the World Series previously, needs time off,
16      didn't want to work back to back World Series,
17      want to make sure that other -- that other
18      series are strong.      Championship Series is an
19      important series as well, the Division Series is
20      obviously important, Wild Card is important, so
21      there is some balance that goes in to
22      evaluation.
23                    That being said, they're high
24      performing umpires all the way around that work
25      the World Series.



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1                        P. Woodfork - 6/21/19
2                     MR. MURPHY:     It wasn't answered.
3       BY MR. MURPHY:
4              A.     Angel has earned the opportunity to
5       run that crew.     There are times when Angel
6       successfully performs in that, and there are
7       other times where he seems to struggle.
8              Q.     Would you appoint someone to be an
9       interim crew chief that was not capable of
10      running a crew?
11             A.     I think the goal -- the interim crew
12      chief at times, depending on how many we're
13      working with, is to give people an opportunity
14      to show people that they can manage the crew,
15      that they can run that crew.
16                    So at times, you're taking people
17      that may or may not; you're not 100 percent sure
18      how it's going to turn out and I think it's that
19      opportunity that we need to provide to employees
20      to see if they can be successful.
21                    So again, the hope is that that
22      person can run a crew.
23             Q.     Is Kerwin Danley capable of running
24      a crew?
25             A.     Kerwin Danley is serving as an



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1                        P. Woodfork - 6/21/19
2       interim crew chief right now, I think he's been
3       working successfully.
4              Q.     And is Alfonso Marquez capable of
5       running a crew?
6              A.     Alfonso has been an interim crew
7       chief; fairly recently given that opportunity.
8




15             Q.     Did Major League Baseball ever
16      recognize at any time between 2011 and 2016,
17      that it had a diversity problem within the
18      umpire staff?
19                    MR. LUPION:     Objection to form.
20             A.     How would you define your problem?
21             Q.     Lack of minorities.
22             A.     Again, I think we recognize that we
23      didn't -- our goal is to have greater minority
24      representation, I do think we represent, we
25      recognize that we need to get greater minority



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1                        P. Woodfork - 6/21/19
2       discussed by the directors could go in to this.
3       Information that -- you know, was discussed on
4       the conference calls on performance.
5              Q.     Would Matt McKendry have the right
6       to provide input into these comments in 2011?
7              A.     Matt McKendry, as far as I remember
8       was not in this department in 2011; that being
9       said --
10             Q.     You answered the question.
11                    Did you --
12             A.     I haven't fully answered the
13      question if you wouldn't mind.
14                    He was working in Situation
15      Management so he might have provided information
16      on Situation Management that could've been
17      reviewed by umpires, supervisors or directors
18      that comment on it.
19             Q.     Did you have the right to provide
20      input?
21             A.     I would review and provide input.
22             Q.     Joe Torre?
23             A.     Joe would review.
24             Q.     Did he provide content?
25             A.     I don't recall on this.



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1                        P. Woodfork - 6/21/19
2              Q.     Randy Marsh would be able to as
3       well, am I right?
4              A.     As a director, he could've provided
5       content that went in to this.
6              Q.     Are your answers the same for the
7       subsequent years of 2012, 2013, 2014, 2015, and
8       2016 as it relates to the individuals you just
9       mentioned?
10                    MR. LUPION:     Objection to form.
11      BY MR. MURPHY:
12             A.     More broadly, supervisors,
13      directors.    Change is obviously dynamic on
14      different categories are filled out -- could be
15      filled out by different people in the
16      administrative component.        So additional people
17      could've provided information or feedback on --
18             Q.     Who are those people?
19                    MR. LUPION:     I don't think the
20              witness was done again, Kevin. I know you
21              might be looking to make a flight, but the
22              witness is entitled to give you a complete
23              answer.
24             A.     That could provide -- administrators
25      on administrative issues could be providing



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1                        P. Woodfork - 6/21/19
2       feedback.    That would be, you know, Cathy Davis,
3       Raquel Wagner, Alex Bermudez, again on the
4       administrative component, they would provide
5       information and feedback.
6                     On the plate judgment, it could be
7       our ZE people, you know, objective data, the
8       supervisors and the directors.         Bruce Froemming,
9       our special consultant, special advisor.
10             Q.     The administrative components, do
11      you have any personal information on who
12      provided the information in the second sentence
13      that says, "You need to work on your
14      communication skills with on- field personnel
15      particularly because your approach has fostered
16      a club perception that you try to put yourself
17      in the spotlight by seeing things that other
18      umpires do not."
19             A.     I do not recall.
20             Q.     If you see the comment on top of
21      1505, you received a number of exceeds for game
22      and situation management, balk calls.
23                    Do you believe that that statement
24      is in conflict with fostering a club perception
25      that you try to put yourself in the spotlight by



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1                        P. Woodfork - 6/21/19
2               A.    Again, I think there are obviously
3       some that think there's a perception problem.            I
4       think he's, you know, shown improvement this
5       year.   Once again, it's the consistency that
6       will determine it.      But I think he has shown
7       consistency this year provided being given an
8       opportunity to be a crew chief.         And again, it's
9       a fluid process, you know, that's the
10      consistency we're looking for.
11




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1                        P. Woodfork - 6/21/19
2
3




19                    Thank you.
20      BY MR. MURPHY:
21             Q.     That phone call on March 29, was
22      that to all of the umpires?
23             A.     I don't recall.
24                    (Plaintiff's Exhibit 134, email from
25              McKendry, to Raquel Wagner, dated



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1                        P. Woodfork - 6/21/19
2               23/23/2017, Bates stamped DEF 8127 through
3               8131, marked for identification, as of
4               this date.)
5       BY MR. MURPHY:
6              Q.     All right, this one is Defendant's
7       Exhibit 8127, Matt McKendry to Raquel Wagner.
8                     What are our her job duties?
9              A.     She is a manager in umpire
10      operations, maybe a senior manager.
11             Q.     What does a senior manager do?
12             A.     Supports the department, she works
13      on SURE administration.       She supports the
14      observer group.      She works on administrative
15      issues, proofreads, edits, perform, develops
16      documents, she is --
17             Q.     O.K.
18                    MR. LUPION:     I don't think he was
19              done.
20                    MR. MURPHY:     I apologize.
21             A.     Sorry, PowerPoint presentations.
22             Q.     Very good.
23                    MR. LUPION:     Are you done with your
24              answer?
25                    THE WITNESS:     And other factors, if



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1                        P. Woodfork - 6/21/19
2               that's makes it easier.
3       BY MR. MURPHY:
4              Q.     In this -- well, did you receive a
5       copy of this email about the time it was sent?
6              A.     Not to my recollection.
7              Q.     Matt tells Raquel, "As discussed
8       please research these," midyear -- "As
9       discussed, please research these umpires' mid
10      year and year-end evals from the last five
11      seasons for information to support the decision
12      not to appoint them as a crew chief this
13      offseason.    Below are some initial thoughts on
14      each umpire's drawbacks.       See the attached
15      letter to Angel Hernandez and use it as your
16      template."
17                    Is that the way MLB has notified
18      umpires who didn't get the crew chief position,
19      by pointing out reasons why they weren't
20      appointed?
21                    MR. LUPION:     Object to the form.
22      BY MR. MURPHY:
23             A.     I think in this, from what I can
24      tell, this was to send the letters to the
25      umpires that were requested by the Umpire



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1                        P. Woodfork - 6/21/19
2       Association.     Each umpire, my experience from my
3       recollection, is notified verbally prior to the
4       letter.
5              Q.     Are these reasons being provided
6       after the decision was made?
7                     MR. LUPION:     Object to the form.
8       BY MR. MURPHY:
9              A.     I think they're provided when the
10      decision is made and hopefully consistent with
11      what's in their evaluations.
12             Q.     With their game evaluations or
13      midyear?
14             A.     With their midyear evaluations.
15




23             Q.     If an umpire gets hurt, as was the
24      case with                    in his career in the
25      last couple of years, does that get held against



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1                        P. Woodfork - 6/21/19
2       him in the decision to become a crew chief?
3              A.     I think for umpires that are not on
4       the field, it's tough to evaluate them.           So
5       missed time is something that's taken in to
6       account because you miss the evaluation period
7       or the opportunity.
8              Q.     And if you turn to the next page, it
9       lists the umpires' actual seniority.
10                    Do you see that?
11             A.     Yes.
12             Q.     And Hernandez, Danley, two minority
13      umpires, were the top two in seniority, would
14      you agree?
15             A.     Yes.
16                    MR. LUPION:     Object to the form.
17                    (Plaintiff's Exhibit 135, email from
18              McKendry, to Woodfork, 9/18/17, Bates
19              stamped DEF 14681 through 14687, marked
20              for identification, as of this date.)
21                    MR. MURPHY:     This should be 134
22              right.
23                    MS. REPORTER:      135.
24                    MR. LUPION:     135.
25      BY MR. MURPHY:



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1                       P. Woodfork - 6/21/19
2      question?
3             Q.     Am I correct that these are just
4      summaries of the reaction of the umpires when
5      told that they did not make crew chiefs?
6             A.     These are, yes, I mean, Randy's
7      notes on his conversations on crew chief.
8                      .
9




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1                        P. Woodfork - 6/21/19
2




15             A.     I don't have an example for you.
16                    (Plaintiff's Exhibit 140, email from
17              Rieker to Woodfork, dated 10/16/15, Bates
18              stamped DEF 7912, marked for
19              identification, as of this date.)
20      BY MR. MURPHY:
21             Q.     O.K., 7912, Rich Rieker and Peter
22      Woodfork, subject -- well, WS total stands for
23      World Series?
24             A.     I don't recall this email.
25             Q.     "I do not know the totals; they are



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1                        P. Woodfork - 6/21/19
2       just suggestions."
3                     Do you know what that means?
4              A.     I don't recall this email.         I assume
5       he's talking about voting for World Series.
6              Q.     "Put you who and Joe want in from
7       the suggestions."
8                     What does that mean?
9                     MR. LUPION:     Objection.
10             A.     I don't know.      You'd have to ask
11      Rich, he's the one who sent this email.
12             Q.     We didn't see any response to this
13      that you didn't understand Rich.         So, "Take
14      Angel out if you want," do you know what that
15      means?
16             A.     Again, I don't recall this email.
17             Q.     This is October 16, 2015.
18                    The playoffs would be well under
19      way, correct?
20             A.     It's the same date we had our,
21      quote-unquote, debacle, or close to it, my
22      birthday.
23             Q.     With
24             A.     Yes.
25             Q.     All right.



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1                        P. Woodfork - 6/21/19
2                     Was Angel being considered in 2015
3       for the World Series?
4              A.     I don't recall.
5              Q.     Am I right that the only decision
6       that would be left to be made on October 16,
7       2015, would be who from the Division Series is
8       going into the World Series, correct?
9              A.     Seems like the time frame that you
10      would be deciding World Series assignments.
11             Q.     Because the subject says, "World
12      Series totals."
13                    So was Angel on a list to be
14      selected for World Series and then taken off?
15                    MR. LUPION:     Objection.
16      BY MR. MURPHY:
17             A.     I don't recall the discussion around
18      the World Series in 2015.        I don't think we have
19      a list that's on or off.
20             Q.     Keep that either in your mind or
21      handy as you look at the next one, if you would,
22      please.
23                    (Plaintiff's Exhibit 141, Document
24              Bates stamped DEF 15451, marked for
25              identification, as of this date.)



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1                        P. Woodfork - 6/21/19
2       BY MR. MURPHY:
3               Q.    This is 141, Defendants' Exhibit
4       15451.
5                     MR. LUPION:     Bates number.
6                     MR. MURPHY:     Yes, sorry, Bates; it's
7                Exhibit No. 141.
8                     My apologies.
9       BY MR. MURPHY:
10              Q.    This is a text from you, is that
11      right?
12              A.    I assume that this is pulled from my
13      text messages and you're providing me that,
14      so...
15              Q.    And you sent the text to Joe Torre,
16      correct?
17              A.    That appears to be Joe's cell phone
18      number.
19              Q.    "Angel is going to be" -- first look
20      at the date, the date is the same day as the
21      Rich Rieker email on Exhibit 140.
22                    Do you see that?
23              A.    I do.
24              Q.    And you tell Joe Torre in the
25      afternoon, "Angel is going to be a no for Rob.



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1                        P. Woodfork - 6/21/19
2       I am headed home to have my birthday dinner, and
3       will be on my cell."
4                     So you can see that I already knew
5       when your birthday was.
6                     How did you know that Angel was
7       going to be a no for Rob?
8              A.     I don't recall sending the text.
9              Q.     You may not recall typing out a text
10      on your phone.     Do you recall the content and
11      what you were conveying to Joe Torre?
12             A.     I can see here on the piece of paper
13      what the content says, but I don't recall the
14      situation or the discussion we were having.
15             Q.     Did the Commissioner tell you that
16      he did not want Angel in the World Series?
17             A.     Not to my recollection.
18             Q.     Is this based on previous knowledge
19      about what the Commissioner feels about Angel
20      Hernandez?
21             A.     This was, again, based on probably
22      my presumption, my presumption, I took a
23      presumption on the situation.         I don't recall
24      having conversation with the Commissioner about
25      Angel Hernandez and the World Series in 2015.



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1                        P. Woodfork - 6/21/19
2              Q.     You don't say in the body, I believe
3       Angel is going to be a no for Rob; you say
4       affirmatively that, "Angel is going to be a no
5       for Rob."
6              A.     I think if -- sorry.       You can ask
7       the question, I apologize.
8              Q.     I'm just asking you:       What
9       information did you have that caused you to send
10      that information to Joe Torre?
11             A.     I don't recall sending it; I don't
12




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1                        P. Woodfork - 6/21/19
2              Q.      Do you recognize that the types of
3       things that Kinsler said about Mr. Hernandez can
4       harm him from an integrity standpoint?
5                      MR. LUPION:    Object to the form.
6              A.      Like I said, I don't remember the
7       exact comments that were made by Mr. Kinsler; I
8       do remember that he crossed the line.
9              Q.      Mr. Kinsler was not suspended, am I
10      correct?
11             A.      Correct.
12             Q.      And did Joe Torre agree with what
13      you said here?
14             A.      I don't recall.
15                     (Plaintiff's Exhibit 144, email from
16               McKendry, to Woodfork, dated 9/15/13,
17               Bates stamped DEF 15068, marked for
18               identification, as of this date.)
19      BY MR. MURPHY:
20             Q.      This is Exhibit 144, Bates stamp
21      15066.      It's an email from Matt McKendry to
22      Mr. Woodfork, subject post season, "Here is the
23      information you were asked about last night."
24                     Would you explain to me what you
25      were asked about and who did the asking.



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1                        P. Woodfork - 6/21/19
2              A.     I don't recall.
3              Q.     Is there one thing that these
4       umpires have in common?
5              A.     These are the people of color that
6       are umpires, people of diversity.
7              Q.     Right.
8                     Do you know why you were asked --
9              A.     Again --
10             Q.     -- about this information?
11             A.     -- I don't recall.
12             Q.     When it says season, "2013 Number on
13      Staff: 7.    Number Assigned:      2."
14                    Would you explain what those numbers
15      are, sir?
16             A.     I didn't do the umpire -- I didn't
17      write this email, but from what I can infer from
18      it, it seems like there's seven on staff and two
19      assigned to the post season.
20             Q.     I see.    Seven on staff means seven
21      minority umpires?
22             A.     Again, if I take -- if I an infer
23      from it.    I didn't write the email, so I can't
24      say that 100 percent.       But we did, if I do
25      recall correctly, we did make two hires that,



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1                        P. Woodfork - 6/21/19
2       between '12 and '13 of people of color.
3              Q.     You will note that in 2004, Chuck
4       Meriwether umpired the World Series, correct?
5              A.     According to this email.
6              Q.     Do you know who had Joe Torre's
7       current position back then in 2004?
8              A.     I do not.
9              Q.     Angel Hernandez had the World Series
10      in 2005, do you see that?
11             A.     Yes.
12             Q.     Marquez had the World Series in
13      2006, do you see that did?
14             A.     Yes.
15             Q.     Danley had the World Series in 2008,
16      and so did Laz Diaz, do you see that?
17             A.     Yes.
18             Q.     Evidently, the people in your
19      positions previously thought that Marquez, Diaz,
20      Hernandez and Danley, were capable enough to
21      umpire the World Series, would you agree?
22                    MR. LUPION:     Object to the form.
23      BY MR. MURPHY:
24             A.     Agree that those umpires worked the
25      World Series during these years.



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1                        P. Woodfork - 6/21/19
2              Q.     Would you agree that by selecting
3       them, they were confident that they could handle
4       the World Series stage?
5                     MR. LUPION:     Objecting to the form.
6              A.     I don't know what thought process
7       they put in TO their selections.
8              Q.     But in spite of the fact that the
9       individuals that were in the position to select
10      World Series candidates prior to the people
11      coming onboard in 2011 thought that these
12      candidates, Hernandez and Danley, could be in
13      the World Series, you, Joe Torre, and the others
14      have thought that they're not worthy enough to
15      be in the World Series, correct?
16                    MR. LUPION:     Objection.
17      BY MR. MURPHY:
18             A.     You're asking me about the two
19      years, the three years on this sheet, '11, '12,
20      and '13?
21             Q.     '14, '15, and '16, too.
22             A.     You're asking me about the three
23      years that are on this sheet, Marquez worked the
24      World Series and he tried again.         We put the
25      umpires that we feel best are going to perform.



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1                        P. Woodfork - 6/21/19
2       humiliates them that they have less years than
3       the crew chief they work under?
4                     MR. LUPION:     Objection.     Asked and
5                answered.    You can answer again.
6               A.    Yes, I'm not going to project or try
7       to predict what their response is; I know that,
8       as you said, they respect people that they work
9       with regardless of race.
10              Q.    But you have had memos about the
11      conversations with the umpires in Arizona where,
12      both,           and Hernandez conveyed that they
13      were upset about being passed over, so when it
14      comes to how they feel about certain things, you
15      are, in fact, made aware at times, correct?
16                    MR. LUPION:     Objection.
17              A.    I am aware that they're upset about
18      not being selected as crew chiefs.
19                    (Plaintiff's Exhibit 146, email from
20              Freedman to Woodfork, Sword, 2013 Umpiring
21              Department Overview DEF 15067 through
22              15149, marked for identification, as of
23              this date.)
24      BY MR. MURPHY:
25              A.    Kevin, that's a big one, I'm going



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1                        P. Woodfork - 6/21/19
2       to run to the restroom before we get to that.
3                     MR. MURPHY:     Sure.
4                     (Whereupon, a recess was taken.)
5                     THE VIDEOGRAPHER:       Off the record,
6               time 1:56.
7                     (Whereupon, a recess is taken.)
8                     THE VIDEOGRAPHER:       Stand by, please.
9                     The time 2:08 p.m., back on the
10              record.
11      BY MR. MURPHY:
12             Q.     In front of you, I have a document
13      15067 to 15149.
14                    Do you recognize this document?
15             A.     Yes.
16             Q.     Is this something you reviewed in
17      preparation for your deposition?
18             A.     I did see this, yes.
19             Q.     Scott Freedman in August of 2013,
20      what position did he hold with Major League
21      Baseball?
22             A.     I don't recall his exact position.
23      He worked in the Labor Relations and Strategy
24      Department.
25             Q.     Did he have any particular expertise



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1                        P. Woodfork - 6/21/19
2       as it related to Minor League and Major League
3       umpiring that would cause you to ask him to do
4       this?
5                     MR. LUPION:     Object to the form.
6               A.    I'm not -- I don't recall him being
7       any more than researching information for us.
8               Q.    And --
9               A.    Actually, can I take that -- can I
10      add to that?     I think actually, in this case, in
11      Scott's case, this was actually just an update
12      of a document that -- of a presentation that
13      previously had been done.
14              Q.    And do you know, when was that
15      previous presentation done?
16              A.    If I recall correctly, 2011.
17              Q.    Sorry?
18              A.    If I recall correctly, it was 2011
19      is my best.
20      REQ
21                    MR. MURPHY:     I'm going to request
22              that document and there was one other, the
23              Employee Handbook that has a diversity
24              policy that he mentioned earlier.
25      BY MR. MURPHY:



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1                        P. Woodfork - 6/21/19
2              Q.     All right, who asked Mr. Freedman to
3       do this update?
4              A.     I don't recall.
5              Q.     By that answer, does that eliminate
6       you from being the person who asked Scott
7       Freedman to do the update?
8              A.     I don't recall directly asking Scott
9       Freedman to do this update.
10             Q.     O.K.
11                    Who is Morgan Sword?
12             A.     Morgan is a peer in the labor
13      relations department who Scott Freedman reported
14      to.
15             Q.     Did Freedman also do the original
16      version in 2011?
17             A.     I don't recall who worked on the
18      original one.     I know it was done through the
19      Strategy and Labor Group, which has a number of
20      people in it.
21             Q.     This report told Major League
22      Baseball that there was a diversity problem
23      within the umpire staff, correct?
24                    MR. LUPION:     Objection.     The
25              document speaks for itself.



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1                        P. Woodfork - 6/21/19
2              A.     I don't recall the specifics of each
3       -- I don't recall the specifics of each page of
4       this document.
5              Q.     All right, but that wasn't about a
6       specific page.
7                     Isn't it true that this report told
8       Major League Baseball that there was a diversity
9       problem within the umpire staff?
10                    MR. LUPION:     Object to the form; the
11              document speaks for itself.
12             A.     Again, I don't recall the specifics
13      of it; I can read through it and see specifics;
14      I know it did discuss diversity and diversity
15      numbers.
16             Q.     And that those diversity numbers
17      were inadequate, correct?
18                    MR. LUPION:     Object to the form.
19              Document speaks for itself.
20      BY MR. MURPHY:
21             A.     Again, I think it showed the
22      numbers, how you interpret those numbers, and I
23      felt we could have improvement in that area.
24             Q.     All right.
25                    We're going to go through some of



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1                        P. Woodfork - 6/21/19
2       these pages.     I will show you a page or two to
3       orient you?
4              A.     O.K.
5              Q.     So, let's start at 15068, it's
6       called an Umpiring Department Overview and then
7       15069, you'll see the Table of Contents.           It
8       starts with the Demographics and Life of an
9       Umpire.
10                    On 15070, he has listed that of the
11      total number of umpires, only 7 percent were
12      people of color, correct?
13             A.     7 percent of minorities?
14             Q.     Yes.
15             A.     Yes.
16             Q.     And would you agree that that's not
17      an acceptable number?
18                    MR. LUPION:     Object to the form.
19             A.     I would say that our diversity
20      efforts, we need to increase that number, that
21      is a goal.
22             Q.     So by saying that you need to
23      increase the number, this number was not
24      acceptable, would you agree?
25                    MR. LUPION:     Object to the form.



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1                        P. Woodfork - 6/21/19
2                Mischaracterizes testimony.
3              A.     I would say that the number is the
4       number of how many -- the percentage of diverse
5       umpires we had at the time, and that the goal
6       was to increase that number.
7              Q.     In 2013, were you satisfied that the
8       amount of umpires of color were only 7 percent?
9              A.     I think we needed to, again, looking
10      at the number, we needed to increase that
11      number.
12             Q.     Does that mean that you were not
13      satisfied?
14             A.     It's not satisfaction -- for me,
15      that's not how I -- I'm more analytic.           I look
16      at that number, it's not, for me it was not high
17      enough and it's something we need to improve on.
18             Q.     Between 2013 and the present, has
19      that number gone up or done?
20             A.     Percentagewise, I would have to look
21      at it.    I don't know off the top of my head what
22      the percentage is.      I think between -- think the
23      number, total number has increased.
24             Q.     15071, while the total number of
25      minority umpires has increased, so has the



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